AQ 91 (Rev. 11/11) GNDIA 03/19) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Northern District of lowa

 

 

 

United States of America 5
Vv. )
)
) Case No, 22-CR-2041
Chuck Allan Domeyer )
)
}
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date{s) of May 20 2022 in the county of Delaware in the
_—_ Northen __-Districtof owas, the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(2)(1) Possession of a Firearm by a Felon

This criminal complaint is based on these facts:
See attached Affidavit.

  

# Continued on the attached sheet.

HYCO

eo Complainant's signature
Travis Hemesath, Delaware County Sheriff's Deputy
He j ] Pri d title
"J Swom to before me and signed in my presence. minted name and title

w Attested to by the applicant in accordance with the requirements of Fed. R. Crim, P. 4.1 by telephone or other reliable
electronic means,

_ Date: dels 22 Pond [irs (AS

Judge’s signature

 

Northern District of lowa MARK. A. ROBERTS, United States Magistrate Judge
Printed name and title

 
AFFIDAVIT
I, Travis Hemesath, Investigator with the Delaware County Sheriff's Office,

being duly sworn, depose and state that:

1. ‘Your affiant has been certified as a Police Officer since April 2008. Prior to
this certification your affiant has received training from working as a reserve
police officer. Your affiant has been assigned as a Patrol Officer since April
of 2007 to October 18, 2010, for the Howard County Sheriffs Office. Your
affiant is currently assigned as a Patrol Deputy/Investigator for the Delaware
County Sheriffs Office as of October 18, 2010 to present. Your affiant’s

current duty status is full-time assignment to Investigations and Patrol.

2. Your affiant is a certified peace officer in Iowa. Your affiant has received
training through the Iowa Law Enforcement Academy and at subsequent
schools concerning the investigation, interdiction and identification of
narcotics.

3. Your affiant’s specified training is described as the following: Level one, two
and three High Risk Entry Trainings, Roadside Interviews Drug Interdiction
course, Patrol Tactics for the Rural Officer, Taser Certified, Emergency Care
Provider, Crime Scene Investigation and Interview and interrogation and
Clan Lab Certified. Your affiant has made an excess of 250 or more narcotics
related arrests within his career. Your affiant also received two years of
education with an emphasis in Law Enforcement and received an AAS

Degree in Police Science.
Your affiant has conducted numerous hours of surveillance of narcotics users
and dealers and has worked in supervising informants in an undercover
capacity, which resulted in the purchases of various controlled substances.
Furthermore, your affiant has participated in the execution of more than
thirty narcotics related search warrants. Duties of the affiant during
execution of the warrants have included assessment, evidence collecting,
dismantling and clean-up of illegal narcotics and equipment, clandestine

methamphetamine laboratories and marijuana production systems.

The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agent witnesses. This
affidavit is intended to show merely that there is sufficient probable cause to
believe Chuck Allan DOMEYER possessed a firearm as a felon, in violation of
(18 U.S.C § 922(g)(1), as alleged in the Complaint, and does not set forth all of

my knowledge about this matter.

PROBABLE CAUSE
On May 20, 2022, deputies with the Delaware County Sheriffs’ Office
conducted a search at the residence of Chuck ANan DOMEYER located in

Delhi, in Delaware County, in the Northern District of lowa.

During the search, officers recovered 70 firearms in the residence. A nexus
expert reviewed these items and determined that 64 of them qualified under
the federal definition of a “firearm” and were manufactured outside the state

of lowa.
10.

Ll.

DOMEYER, the sole known resident of the house, was not present at the
time of the search, but later spoke to another deputy for Delaware County

and inquired about whom had taken his firearms.

CRIMINAL HISTORY

-DOMEYER?’s criminal history includes a 1999 felony conviction for Burglary

Second (Domestic) in Dubuque County, lowa. In October 2020, the Delaware
Sheriffs Department sent DOMEYER a letter notifying him that his
application for a permit to carry was denied due to a prior felony conviction.

Attached to the letter was a copy of his prior felony conviction.

CONCLUSION
Based upon my training and experience, | believe there is probable cause to
find that, on May 20, 2022, in the Northern District of lowa, Chuck Allan
DOMEYER possessed a firearm as a prohibited person in violation of
Title 18, United States Code, Sections 922(g)(1) and 924(a)}(2).
I declare under penalty of perjury that the above-foregoing facts and

circumstances are true and correct to the best of my knowledge and belief.

Dated thik day of July, 2022.
a gtd
tenner

Deputy Travis Hemesath
Delaware County Sheriff's Office

  

 
Subscribed and sworn to by telephonic or other reliable electronic means on

vel!
this 22 day of July, 2022.

 

MARK A. ROBERTS
United States Magistrate Judge
Northern District of lowa
